Case 2:05-cr-20218-SH|\/| Document 10 Filed 08/11/05 Page 1 of 2 Page|D 9

IN THE UNITED sTATEs DISTRICT coURT attys __ Ay D C
FoR THE WESTERN DISTRICT oF TENNESSEE '" ' ~ 1
WESTERN DIVISION 85 AUG l 1 PH 1,= 21,

 

UNITED STATES OF AMERICA

 

V.

SEAN SIMPSON 05cr20218-Ma

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 03 ‘ la ' 05 the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

 

NAME mA‘|\`\ C- FEKMAN‘V who is Retained/Appointed.

The de fendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.

14 The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. "'-'
,___v-‘
§ //7/)#/¢.¢ @_
UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18:922(g)
firearms

Attorney assigned to Case: G. Gilluly

Age: 2.(!

This doctment entered on the dock

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-202] 8 was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

